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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


DUSTY RAY SPENCER,

                 Plaintiff,

v.                                          Case No. 3:17-cv-73-J-39PDB

FLORIDA DEPARTMENT OF
CORRECTIONS et al.,

               Defendants.
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                                   ORDER


      The Court directs the plaintiff to respond by June 8, 2018,

to the defendants’ motion to transfer venue and stay or for an

extension of time to respond to the second amended complaint, Doc.

64.

      Ordered in Jacksonville, Florida, on May 10, 2018.

 




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c:    Counsel of Record




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